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                      UNITED STATES DISTRICT COURT
                                   FOR THE
                    DISTRICT OF DISTRICT OF COLUMBIA
___________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )    Case No. 21-cr-117-1(TFH)
                                    )
RYAN TAYLOR NICHOLS                 )
      Defendant.                    )
                                    )
____________________________________)



                  DECLARATION OF ATTORNEY JONATHAN GROSS

I represent Ryan Nichols in the above captioned matter.

The records attached to this Reply to the Government’s Opposition to Defendant’s Motion for

Pretrial Release are, to the best of my knowledge, true and accurate copies.

The following videos are, to the best of my knowledge, true and accurate.


                            Rescue The Universe You Tube Videos

Hurricane Michael Coast Guard Med-Evac- Panama City, Florida- Rescue The Universe
https://www.youtube.com/watch?v=5Cld3M0sV5E

Near Drowning Victim Is Rescued During Hurricane Sally With Orange Beach Fire Department
In Alabama!
https://www.youtube.com/watch?v=SlLg74-4kww&t=18s

Hurricane Sally High Water Rescues - Evacuating Women, Children, Men, & Animals - Foley,
Alabama
https://www.youtube.com/watch?v=v2GDxJ7zt1s
Tropical Storm Imelda High Water Rescues - Beaumont, Texas - Sep 19, 2019 - Rescue The
Universe
https://www.youtube.com/watch?v=i6P-tMbfMLs
Hurricane Michael Rescue- House Collapse On 8 Month Pregnant Woman- Panama City,
Florida
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https://www.youtube.com/watch?v=R7zxYGOq6ZA

Finding Emily- First Hurricane Michael Rescue With 8 Month Pregnant Woman- PART 2
https://www.youtube.com/watch?v=2c0JoVQ8m_4

Horse Rescue With Texas State Trooper During Tropical Storm Imelda - Rescue The Universe -
9/19/19
https://www.youtube.com/watch?v=xx70h2tqeQo

Here’s WHY You Should EVACUATE If You’re In The Direct Path Of Hurricane Laura!
https://www.youtube.com/watch?v=EJ1HaCGUWbE
Lake Charles Completely Devastated With Damage After Hurricane Laura - Lines Down,
Buildings Down...
https://www.youtube.com/watch?v=dv1lp9o7_CQ
Pulling A Car From A Ditch As Hurricane Hannas Eyewall Was Making Landfall - Rescue The
Universe
https://www.youtube.com/watch?v=AUIGL3Z4Bxo
Pulling A Flooded Truck Out Of The Gulf Of Mexico During Hurricane Hanna- Rescue The
Universe- 7/25
https://www.youtube.com/watch?v=bYCDjV07vo8

Initial Push Into Lake Charles After Hurricane Laura Landfall With Cajun Navy - Rescue The
Universe
https://www.youtube.com/watch?v=KtI-
xMxJq8c&list=PLF39V4KZQNjqrwHo5GmbYOzAtRUAbYmzf&index=7

Daily Mail: Incredible moment six dogs are rescued hurricane Florence flooding
https://www.youtube.com/watch?v=M99ngu-Dy3s

ABC News Volunteers rescue residents, pets from flooded homes during Florence
https://www.youtube.com/watch?v=nx8aA7-HUg8

RUPTLY USA: Watch dramatic rescue of trapped dogs in Florence-hit North Carolina
https://www.youtube.com/watch?v=F6ibYJREH6E

Interview of Ryan Nichols Ellen DeGeneres (The Big Bid Theory) Heroes and Help for the Next
Disaster. It’s Coming.
https://www.youtube.com/watch?v=TwJvvHq-Y80

Ellen DeGeneres-This Heroic Hurricane Rescue Will Leave You Speechless
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https://www.youtube.com/watch?v=tPaB2lNsRzY

Six dogs are rescued from severe Florence flooding by Volunteers in Leland, NC
https://www.youtube.com/watch?v=zFjmSD3keIs

Hurricane Michael Relief- Initial Supplies And Resources Needed!
https://www.youtube.com/watch?v=VhjiN9Kz3mw

Extreme Damage In Lake Charles After Category 4 Major Hurricane Laura Passes Through!
https://www.youtube.com/watch?v=OOac7FEjleY


I declare under the penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

   Executed on September 30, 2022

                                                      /s/ Jonathan Gross

                                                      Jonathan Gross
